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November 25, 2020


Honorable J.P. Stadtmueller
United States District Court
Eastern District of Wisconsin
517 E. Wisconsin Avenue
Milwaukee, WI 53202

RE:      United States v. Tyshaun Smith
         Case No. 20-cr-93-JPS

Dear Judge Stadtmueller:

On October 22, 2020, the Court issued a Text Order granting the parties’ request for
additional time. The additional time was necessary to retrieve Mr. Smith’s phone from
Washington, D.C., allow the parties to meet, unlock it, and continue pending
conversations.

The parties appreciate the patience and additional time and have worked towards the
goals listed in the filed joint status report, but unfortunately, have not successfully
accomplished these tasks. The phone made it back to Milwaukee and the parties were
discussing possible times to meet. In the meantime, Mr. Smith’s phone was cut off. 1

Under normal circumstances, undersigned counsel would conduct a visit with Mr. Smith
to alleviate this issue (as she has in the past). However, given the rise in COVID-19 cases



1   Unfortunately, Mr. Smith has had financial problems that have led to having his phone cut off on a
    couple of occasions.

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in Wisconsin, and the fact that she has a vulnerable family member in her home, counsel
does feel comfortable taking this approach on this occasion.

It is still Mr. Smith’s intention to assist the government to access his phone and to resolve
this matter by plea. Under the circumstances, however, the parties respectfully request
an additional 30 days to submit a plea agreement in this case.

The parties sincerely appreciate the Court’s time and attention to this matter.

Sincerely,

/s/   Gabriela A. Leija

GAL/cm




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